Case 1:24-cr-O0665-LAP Document2 _ Filed 12/03/24 Page1of4

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA SEALED INDICTMENT

Vv. 24 Cr.

JARED SOLOMON,

mews QACRIM 665

COUNT ONE
(Wire Fraud)
The Grand Jury charges:
1. From at least in or about 2009 through at least in or about 2023, in the Southern

District of New York and elsewhere, JARED SOLOMON, the defendant, knowingly having
devised and intending to devise a scheme and artifice to defraud, and for obtaining money and
property by means of false and fraudulent pretenses, representations, and promises, transmitted
and caused to be transmitted by means of wire, radio, and television communication in interstate
and foreign commerce, writings, signs, signals, pictures, and sounds, for the purpose of executing
such scheme and artifice, and did aid and abet the same, to wit, SOLOMON engaged in a scheme
to make false statements to Victim Company-1, in order to fraudulently obtain money, and sent
and received, and caused others to send and receive, emails and other electronic communications,
to and from the Southern District of New York and elsewhere, in furtherance of that scheme, and
aided and abetted the same.

(Title 18, United States Code, Sections 1343 and 2.)

Case 1:24-cr-O0665-LAP Document2 _ Filed 12/03/24 Page 2of4

COUNT TWO
(Aggravated Identity Theft)

The Grand Jury further charges:

2. From at least in or about 2015 through at least in or about 2023, in the Southern
District of New York and elsewhere, JARED SOLOMON, the defendant, knowingly transferred,
possessed, and used, without lawful authority, a means of identification of another person, during
and in relation to a felony violation enumerated in Title 18, United States Code, Section 1028A(c),
and did aid and abet the same, to wit, SOLOMON used and transferred the names and signatures
of other persons during and in relation to the wire fraud violation charged in Count One of this
Indictment, and aided and abetted the same.

(Title 18, United States Code, Sections 1028A(a)(1),
1028A(b), and 2.)

FORFEITURE ALLEGATION

3. As a result of committing the offense alleged in Count One of this Indictment,
JARED SOLOMON, the defendant, shall forfeit to the United States, pursuant to Title 18, United
States Code, Section 981(a)(1)(C) and Title 28, United States Code, Section 2461(c), any and all
property, real and personal, that constitutes or is derived from proceeds traceable to the
commission of said offense, including but not limited to a sum of money in United States currency
representing the amount of proceeds traceable to the commission of said offense and the following
specific property:

a. The real property commonly described as 3 Beverly Road, Purchase, New
York 10577, more particularly described as Lot 27 on Block 642 in Purchase, Town of Harrison,
in Westchester County, as recorded on August 14, 2023, and associated with Document Control

No. 630893323 and Title No. 9223ML-2023;

Case 1:24-cr-O0665-LAP Document2 _ Filed 12/03/24 Page 3of4

b. The real property commonly described as 23 East 74th Street, Apartment
8CDEG, New York, New York 10021, more particularly described as Lot 1001 on Block 1389 in
the Borough of Manhattan, as recorded on August 12, 2020, and associated with Document ID
2020080300409001 (the “Cooperative Apartment 8CDEG Property”), and all shares allocated to
the Cooperative Apartment 8CDEG Property, more particularly described as 1,051 shares of stock
in The Volney Residences, Inc.;

c. All funds and other property on deposit at JPMorgan Chase Bank, N.A.,
account number 782295112, held in the name of Jared S Solomon DBA Margoux Media, and all
property traceable thereto;

d. All funds and other property on deposit at JPMorgan Chase Bank, N.A.,
account number 806495040, held in the name of Cobalt Advisors, and all property traceable
thereto; and

e. All funds and other property on deposit at JPMorgan Chase Bank, N.A.,
account number 790136862, held in the name of Jared Solomon DBA Karpoff Affiliate, and all
property traceable thereto; (a. through e., collectively the “Specific Property”).

Substitute Assets Provision

4. If any of the above-described forfeitable property, as a result of any act or omission
of the defendant:
a. cannot be located upon the exercise of due diligence;
b. has been transferred or sold to, or deposited with, a third person;
c. has been placed beyond the jurisdiction of the Court;
d. has been substantially diminished in value; or

Case 1:24-cr-O0665-LAP Document2 _ Filed 12/03/24 Page4of4

e. has been commingled with other property which cannot be subdivided
without difficulty;
it is the intent of the United States, pursuant to Title 21, United States Code, Section 853(p) and
Title 28, United States Code, Section 2461(c), to seek forfeiture of any other property of the
defendant up to the value of the above forfeitable property.
(Title 18, United States Code, Sections 981;

Title 21, United States Code, Section 853; and
Title 28, United States Code, Section 2461.)

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DAMIAN WILLIAMS
United States Attorney

